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      Facsimile: (619) 590-1385
 8
      Attorneys for WILMINGTON SAVINGS FUND SOCIETY, FSB, AS TRUSTEE OF
 9                  STANWICH MORTGAGE LOAN TRUST F

 10

 11                              UNITED STATES BANKRUPTCY COURT

 12                  EASTERN DISTRICT OF WASHINGTON (SPOKANE/YAKIMA)

 13    In re                                                 Case No. 20-00950-WLH13

 14    NORAILLA VALADEZ and ARMANDO                          Chapter 13
       VALADEZ,
 15                                                          OBJECTION TO CONFIRMATION OF
                                                             CHAPTER 13 PLAN
 16                    Debtor.
                                                             341(a) MEETING:
 17                                                          DATE:       6/10/2020
                                                             TIME:       10:00 AM
 18                                                          PLACE:      Telephonic

 19                                                          CONFIRMATION HEARING:
                                                             DATE:    6/30/2020
 20                                                          TIME:    10:00 am
                                                             CTRM:    Telephonic
 21

 22
               Wilmington Savings Fund Society, FSB, as trustee of Stanwich Mortgage Loan Trust F
 23
      (hereinafter "Creditor"), secured creditor of the above-entitled Debtor, (hereinafter "Debtor"), hereby
 24
      objects to the Chapter 13 Plan filed by Debtor in the above-referenced matter. Carrington Mortgage
 25
      Services acts as the servicing agent for Creditor. The basis of the objection is stated below:
 26
                                                        1)
 27
                                          STATEMENT OF FACTS
 28
               i)    On or about October 16, 2008, Debtor, for valuable consideration, made, executed and


      OBJECTION TO CONFIRMATION OF PLAN                -1-          Jesse A.P. Baker
      Page - 1 -                                                     PITE DUNCAN, LLP
                                                                    4375 Jutland Drive; P.O. Box 17933
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                                                                    Telephone: (425)644-6471 Pg 1 of     5
  1 delivered to Creditor a Promissory Note in the principal sum of $234,693.00 (the "Note"). Pursuant

  2 to the Note, Debtor is obligated to make monthly principal and interest payments. A copy of the Note

  3 is attached hereto as Exhibit A and incorporated herein by reference.

  4          ii)    On or about October 16, 2008, Debtor made, executed and delivered to Creditor a

  5 Deed of Trust (the ADeed of Trust@) granting Creditor a security interest in certain real property

  6 located at 630 Westwind Drive, Zillah, WA 98953 (hereinafter the ASubject Property@), which is

  7 more fully described in the Deed of Trust. The Deed of Trust was recorded on October 24, 2008, in

  8 the official records of the Yakima County Recorder's office. A copy of the Deed of Trust is attached

  9 hereto as Exhibit B and incorporated herein by reference.

 10          iii)   On or about May 1, 2020, Debtor filed a Chapter 13 bankruptcy petition. Debtor’s

 11 Chapter 13 Plan provides for payments to the Trustee in the sum of $613.00 per month for (36)

 12 months. However, the Debtor’s Chapter 13 Plan makes no provision for the cure of Creditor’s pre-

 13 petition arrears.

 14          iv)    The pre-petition arrearage on Creditor's secured claim is in the sum of $153,329.61.

 15          v)     Debtor will have to increase the payment through the Chapter 13 Plan to this Creditor

 16 by approximately $2,555.50 monthly in order to cure Creditor's pre-petition arrears over a period not

 17 to exceed 60 months.

 18          Creditor now objects to the Chapter 13 Plan filed herein by the Debtor.

 19                                                   2)
 20                                            ARGUMENT

 21          Application of the provisions of 11 United States Code section 1325 determines when a plan

 22 shall be confirmed by the Court. Based on the above sections, as more fully detailed below, this Plan

 23 cannot be confirmed as proposed.

 24 a)       DOES NOT MEET FULL VALUE REQUIREMENT
             11 U.S.C. ' 1325(a)(5)(B)(ii).
 25

 26          Amount of Arrearage Not Correct. The pre-petition arrears specified in the Chapter 13 Plan

 27 are $0.00. The actual pre-petition arrears equal $153,329.61 based on Creditor=s Proof of Claim.

 28 As a result, the Plan fails to satisfy 11 U.S.C. ' 1325(a)(5)(B)(ii).



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      b)    PROMPT CURE OF PRE-PETITION ARREARS
  1         11 U.S.C. ' 1322(d).
  2

  3         Debtor will have to increase the payment through the Chapter 13 Plan to this Creditor by

  4 approximately $2,555.50 monthly in order to cure Creditor's pre-petition arrears over a period not to

  5 exceed 60 months.

  6
            WHEREFORE, Creditor respectfully requests:
  7
            i)      That confirmation of the Debtor’s Chapter 13 Plan be denied;
  8
            ii)     Alternatively, that the Plan be amended to reflect that the pre-petition arrears listed in
  9
            Creditor's Proof of Claim be paid within a period not exceeding 60 months; and
 10
            iii)    For such other and further relief as this Court deems just and proper.
 11
                                                      Respectfully submitted,
 12

 13 Dated: June 18, 2020                             ALDRIDGE PITE, LLP
 14

 15                                                  /s/ Jesse A.P. Baker
                                                     JESSE A.P. BAKER, WSBA #36077
 16                                                  Attorneys for Movant WILMINGTON SAVINGS
                                                     FUND SOCIETY, FSB, AS TRUSTEE OF
 17                                                  STANWICH MORTGAGE LOAN TRUST F
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  1                            UNITED STATES BANKRUPTCY COURT

  2                                   DISTRICT OF WASHINGTON

  3 CASE NO. 20-00950-WLH13

  4                              CERTIFICATE OF SERVICE BY MAIL

  5         I, Shannon Kilgore, am employed in the County of Fulton, Georgia, and I am over the age

  6 of eighteen (18) years, and not a party to the within action. My business address is 4375 Jutland

  7 Drive, Suite 200; P.O. Box 17933, San Diego, CA 92177-0933.

  8         I caused the attached OBJECTION TO CONFIRMATION OF CHAPTER 13 PLAN to be

  9 served and REQUEST FOR SPECIAL NOTICE by placing a true copy thereof in an envelope

 10 addressed to:

 11                                  SEE ATTACHED SERVICE LIST

 12 which envelope was then sealed and postage fully prepaid thereon, and thereafter, on, June 18,

 13 2020, deposited in the United States Mail at San Diego, California. There is regular delivery

 14 service between the place of mailing and the place so addressed by the United States Mail.

 15         I certify under penalty of perjury that the foregoing is true and correct.

 16
      Dated: June 18, 2020                  Shannon Kilgore ___________________________
 17                                         SHANNON KILGORE
 18

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                                                     -4-
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  1                                   SERVICE LIST
  2 DEBTOR(S)

  3 Norailla Valadez
    630 Westwind Drive
  4 Zillah, WA 98953

  5
    Armando Valadez
  6 630 Westwind Drive
    Zillah, WA 98953
  7

  8
      DEBTOR(S) ATTORNEY
  9
    Benjamin J Riley
 10 Saxton Riley & Riley, PLLC
    1112 Meade Ave
 11 Prosser, WA 99350
    ben@saxtonriley.com
 12
    CHAPTER 13 TRUSTEE
 13
    Daniel H. Brunner
 14 P.O. Box 1513 Spokane, WA 99210-1513 ch13trustee@spokane13.org

 15 BORROWER(S)

 16 Armando Valadez

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                                            -5-
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